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13                               UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
15                                      OAKLAND DIVISION
16   IN RE: CATHODE RAY TUBE (CRT)                    Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
17   ____________________________________             MDL No. 1917
18                                                    IRICO DEFENDANTS’ SUBMISSION IN
     This Document Relates to:
                                                      RESPONSE TO ORDER RE: PARTIES’
19                                                    DISPUTES REGARDING SCOPE OF
     ALL INDIRECT PURCHASER ACTIONS
                                                      SUMMARY JUDGMENT MOTION (ECF
20                                                    NO. 6216)
21                                                    Judge:     Honorable Jon S. Tigar
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         IRICO SUBMISSION IN RESPONSE TO ORDER RE: PARTIES’ DISPUTES REGARDING SCOPE OF
                SUMMARY JUDGMENT MOTION (ECF NO. 6216); Master File No. 07-CV-5944-JST
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 1          As ordered by the Court in the Order re: Parties’ Disputes Regarding Scope of Summary

 2   Judgment Motion on July 10, 2023, ECF No. 6216 (“Order”), Defendants Irico Group Corporation

 3   and Irico Display Devices Co., Ltd. (together, “Irico”), hereby submit the following response,

 4   along with the accompanying Declaration of Evan Werbel, to the Court’s request for supplemental

 5   briefing on whether Irico “timely complied with the Court’s order and, if not, why the Court should

 6   allow them to make an argument that was not timely disclosed.” 1 Each of Irico’s notices to the IPPs

 7   on this issue was timely based on the extensions of the discovery period and dispositive motion

 8   deadline, and Irico at all times followed the procedure established by the Court to ensure that Irico

 9   did not file a summary judgment motion on issues that the Court had previously decided.

10          As the schedule and discovery period in this case have been extended over time, Irico has

11   complied with the Court’s procedures for providing advance notice of Irico’s intended summary

12   judgment topics. To briefly review the Court’s process regarding notice, the Court established a

13   procedure whereby: (1) Irico would inform IPPs of the topics they intended to address in a

14   summary judgment motion, set at 53 days prior to Irico filing its motion, (2) the parties would meet

15   and confer to discuss whether any of the topics were duplicative of issues decided previously by

16   the Court, and then (3) present any disputes to the Court. See ECF No. 5907 at 2. Under the then-

17   existing schedule in April 2021, the Court established a timeline for that process, with notice

18   initially due on May 6, 2022. See ECF No. 5925 at 2. In that Order, this notice was to follow the

19   completion of both fact and expert discovery (at that time, in January and April 2022, respectively)

20   – i.e., once the record was complete on the issues relevant to summary judgment. Id. The operative

21   Scheduling Order for fact and expert discovery was thereafter amended several times and the due

22   date for dispositive motions was accordingly postponed. See ECF Nos. 5956, 5980, 5999, 6014,

23   6016, 6024, 6034, 6039, 6135, and 6139. 2 Although the notice date was not reestablished, Irico

24   followed the Court’s anticipated timeline for advance notice to the IPPs given these extensions:

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       All references to the “Werbel Decl.” refer to the Declaration of Evan Werbel In Support of the
26   Irico Defendants Response to Order re: Parties’ Disputes Regarding Scope of Summary Judgment
     Motion (ECF No. 6216), filed herewith.
27   2
       These changes included: rescheduling the initial Joint CMC Statement deadline and Case
     Management Conference twice, then vacating it altogether (ECF Nos. 5956, 6014, 6039);
28   extending the dispositive motion deadline to July 25, 2022 (ECF No. 6016), and then vacating the
                                                        1
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                                           DATE OF                DISPOSITIVE           NUMBER OF
 1
                                        IRICO’S NOTICE              MOTION             DAYS BETWEEN
 2                                       OF TOPICS TO              DEADLINE             NOTICE AND
                                             IPPs                                         FILING
 3
      Original Schedule                    May 6, 2022             June 27, 2022                53
 4
      Further notice after extension
 5    of discovery and dispositive          June 1, 2023           July 28, 2023                58
      motion deadline
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     Thus, following the extension of the discovery periods and change in the due date for filing
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     dispositive motions, Irico provided Plaintiffs with five more days of notice than originally ordered
 8
     by the Court. See ECF No. 5925 at 2:3-8.
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            The international comity issues that Irico intends to raise in its summary judgment motion
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     have been front and center in the case for years. Defenses based on the Chinese pricing regulations,
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     including foreign sovereign compulsion and comity, were timely raised as affirmative defenses in
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     Irico’s answers in December 2020. See ECF No. 6214 at 3. They were also discussed extensively
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     throughout discovery, including in Irico’s responses to discovery requests from Plaintiffs related to
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     Irico’s defenses. Expert discovery, which closed after the initial disclosure date in May 2022, see
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     ECF No. 5980, dealt with issues related to the Chinese pricing regulations, as highlighted in Irico’s
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     Daubert motion.3 See ECF No. 6149 at 14-22. And Irico’s fact witnesses, Wang Xiaojie and Yan
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     Yunlong, both testified in September 2022 on these issues. See, e.g., id. at 17-18. Irico notes that
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     the Court had originally not required any notice to Plaintiffs prior to the close of fact discovery.
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     And, as of May 6, 2022, Irico’s witnesses had not yet been able to testify regarding the Chinese
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     regulations (due to the Covid pandemic), nor had the IPP expert who opined on the relevance of the
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     Chinese regulations been deposed.
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            Although the parties did not re-set a deadline by which to renew the discussions regarding
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     dispositive motion topics, both sides understood that such a discussion would need to occur to
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     follow the Court’s original plan. In fact, counsel for IPPs affirmatively reminded Irico counsel on
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26   deadlines altogether pending further developments in the litigation (ECF No. 6034); and then
     resetting the Daubert and dispositive motion schedules pursuant to the Court’s direction on trial
27   scheduling (ECF No. 6135).
     3
       Irico also notes that the parties agreed to the out of time deposition of Dr. Netz on June 9, 2022,
28   more than a month after initial disclosures. See ECF No. 6016 at 1.
                                                          2
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 1   December 21, 2022 that Irico would need to provide IPPs with advance notice of any issues it

 2   intended to raise in a summary judgment motion, so Plaintiffs clearly did not view the prior notice

 3   as definitive. See Werbel Decl. ¶ 3. Irico agreed and sent its list of summary judgment topics to

 4   Plaintiffs on June 1, 2023, 58 days before the dispositive motion deadline.

 5          Given this record of events, there is no prejudice to Plaintiffs or the Court by allowing Irico

 6   to include international comity arguments in its motion for summary judgment. First, the

 7   fundamental purpose of the process established by the Court was to confirm that Irico’s proposed

 8   topics for summary judgment did not seek to relitigate issues decided by the Court in response to

 9   previous dispositive motions. As demonstrated in the Joint Submission, the topics proposed by

10   Irico were carefully selected to avoid any such issues, so the process has served its purpose.

11   Second, international comity has not been heard by the Court, as Plaintiffs argue, as it is clearly

12   distinct from the FSIA and FTAIA issues raised by Plaintiffs. See, e.g., ABA SECTION OF

13   ANTITRUST LAW, ANTITRUST LAW DEVELOPMENTS 1304 (9th ed. 2022) ("Thus, the FTAIA does

14   not prevent courts from employing notions of comity to decline jurisdiction even where the

15   requirements of the FTAIA have been satisfied.") (citing In re Ins. Antitrust Litig., 938 F.2d 919,

16   932 (9th Cir. 1991)). Finally, as the Court aptly noted, “the Court does not issue advisory

17   opinions.” Order at 2. But that is exactly what the Plaintiffs are asking the Court to do here—issue

18   an advisory opinion as to Irico’s proposed arguments on international comity.

19          Plaintiffs cite no authority supporting the proposition that the Court should prevent Irico

20   from bringing a dispositive motion under the Federal Rules of Civil Procedure, and the Court itself

21   acknowledged limits on its authority to do so during the August 30, 2022 Case Management

22   Conference. See Werbel Decl. ¶ 2 (expressing the Court’s belief that Irico is “entitled” to bring a

23   Rule 56 motion and to have the motion resolved); see also Brown v. Crawford Cnty., Ga., 960 F.2d

24   1002, 1008 (11th Cir. 1992) (determining that FRCP 56 “makes no allowance for a preliminary

25   procedure . . . for reviewing, with the potential of denying, a party’s prospective summary

26   judgment motion”).

27          For the foregoing reasons, Irico respectfully requests that the Court permit argument on

28   international comity issues.
                                                        3
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 1   Dated: July 17, 2023                          Respectfully submitted,

 2

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